 Case 2:22-cv-00293-JRG            Document 785 Filed 09/10/24           Page 1 of 3 PageID #:
                                            70956



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 NETLIST, INC.,                                         Civil No. 2:22-cv-00293-RWS-RSP

                 Plaintiff,
                                                        JURY TRIAL DEMANDED
         v.

 SAMSUNG ELECTRONICS CO., LTD., et al.,

                 Defendants.


 SAMSUNG’S UNOPPOSED MOTION TO APPOINT ANN PARK AS INTERPRETER

        Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and

Samsung Semiconductor, Inc. file this Unopposed Motion to Appoint Ann Park as Interpreter for

Korean witnesses in the above case.

        Ms. Park is well qualified as a Korean interpreter. A copy of her CV is attached as

Exhibit 1 to this motion. Plaintiff is not opposed to this request. The parties agree that Ms. Park

will not be utilized by either side for trial witness preparation.




                                                   1
Case 2:22-cv-00293-JRG          Document 785 Filed 09/10/24        Page 2 of 3 PageID #:
                                         70957



Dated: September 10, 2024                Respectfully submitted,

                                          By:   /s/ Daniel A. Tishman

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                                            2
 Case 2:22-cv-00293-JRG           Document 785 Filed 09/10/24                 Page 3 of 3 PageID #:
                                           70958



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on September 10, 2024. As of this date, all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                      /s/ Daniel A. Tishman




                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Defendants met and conferred with

counsel for Plaintiff. Counsel for Plaintiff indicated that it is unopposed to this motion.



                                                      /s/ Daniel A. Tishman




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